        Case: 22-60674       Document: 21        Page: 1   Date Filed: 02/21/2023




                                   NO. 22-60674


                     In the United States Court of Appeals
                             For the Fifth Circuit


                                  J. KYLE BASS,
                                       Petitioner,

                                            v.

           SECURITIES AND EXCHANGE COMMISSION,
                                      Respondent.



           On appeal from the Securities and Exchange Commission,
               NCA 2018-079, Rel. No. 96439, File No. 2023-19


            UNOPPOSED LEVEL 1 MOTION FOR EXTENSION
            OF TIME TO FILE PETITIONER’S OPENING BRIEF


      Pursuant to Fifth Circuit Rule 31.4, Petitioner J. Kyle Bass (“Petitioner”)

respectfully requests a 15-day, Level 1 extension of time to file his Opening Brief.

This is Petitioner’s first request for an extension of time to file his brief. Respondent,

the Securities and Exchange Commission, does not oppose this request.




                                            1
           Case: 22-60674     Document: 21       Page: 2   Date Filed: 02/21/2023




I.       Current Deadline

         The Clerk of the Court issued a briefing notice on January 24, 2023 stating

that Petitioner’s brief is due 40 days from that date, making Petitioner’s brief due on

March 6, 2023 (the 40th day falls on Sunday, March 5). A 15-day extension will make

Petitioner’s brief due on March 21. This is Petitioner’s first requested extension.

II.      Reason for Extension

         Good cause exists for granting this extension. See 5TH CIR. R. 31.4.2.

Petitioner’s counsel have other pressing obligations and deadlines that have

overlapped with the current deadline in ways that make it extremely difficult to meet

the deadline in this case. These other deadlines include the following:

      1. Ryan Law Firm, LLP v. New York Marine and General Insurance Co., No. 1:19-
         CV-629-RP, in the United States District Court for the Western District of
         Texas. Jury trial from February 10-17.

      2. United States ex rel. Jackson v. Ventavia Research Group, LLC, No. 1:21-CV-
         00008-MJT, in the United States District Court for the Western District of
         Texas. Oral argument on motions to dismiss scheduled for March 1, 2023.

      3. Curtis Park Group, LLC v. Allied World Specialty Insurance Co., No. 1:21-CV-
         00552-CMA-NRN, in the United States District Court for the District of
         Colorado. Final pretrial conference scheduled for March 9, 2023.

      4. Huntington Nat’l Bank v. AIG Specialty Ins. Co., No. 23-3039, in the United
         States Court of Appeals for the Sixth Circuit. Opening brief due March 14,
         2023.

      5. BlockFi Inc. v. Emergent Fidelity Techs. Ltd. (In re BlockFi Inc.), No. 22-01382,
         in the United States Bankruptcy Court for the District of New Jersey.
         Proceedings ongoing.


                                             2
        Case: 22-60674      Document: 21       Page: 3   Date Filed: 02/21/2023




III.   Extension Sought in the Interest of Justice

       This extension of time is sought so that justice may be done in the disposition

of this case and is not sought for purposes of delay. Respondent, the Securities and

Exchange Commission, has indicated it is not opposed to this request.

                                      PRAYER

       For these reasons, Petitioner J. Kyle Bass respectfully requests that this first

motion for extension of time be granted and that the time for filing his Opening Brief

be extended to and including March 21, 2023. Petitioner further requests all such

other relief to which he may be justly entitled.

February 21, 2023                        Respectfully Submitted,

                                        /s/ Andrew W. Guthrie
                                        Andrew W. Guthrie
                                        Texas Bar No. 24078606
                                        Katherine S. Addleman
                                        Texas Bar No. 00905400
                                        Ryan Paulsen
                                        Texas Bar No. 24060397
                                        HAYNES AND BOONE, LLP
                                        2323 Victory Avenue, Ste. 700
                                        Dallas, TX 75219
                                        Telephone: (214) 651-5000
                                        andrew.guthrie@haynesboone.com
                                        kit.addleman@haynesboone.com
                                        ryan.paulsen@haynesboone.com

                                        Counsel for Petitioner J. Kyle Bass




                                           3
        Case: 22-60674     Document: 21       Page: 4   Date Filed: 02/21/2023




                      CERTIFICATE OF CONFERENCE

      I hereby certify that I conferred by email with counsel for Respondent, Mr.
William Shirey, regarding the relief requested in this motion. Mr. Shirey stated that
Respondent does not oppose the relief requested.

                                       /s/ Andrew W. Guthrie
                                       Andrew W. Guthrie


                         CERTIFICATE OF SERVICE

       I hereby certify that on the 21st day of February, 2023, I electronically
transmitted the attached document to the Clerk of the Court of the 5th Circuit Court
of Appeals using the ECF System of the Court. The electronic case filing system
sent a “Notice of Electronic Filing” to the attorneys of record who have consented
in writing to accept this Notice as service of this document by electronic means.

                                       /s/ Andrew W. Guthrie
                                       Andrew W. Guthrie


                             ECF CERTIFICATION

       I hereby certify (i) the required privacy redactions have been made pursuant
to 5TH CIR. R. 25.2.13; (ii) the electronic submission is an exact copy of the paper
document pursuant to 5TH CIR. R. 25.2.1; (iii) the document has been scanned for
viruses using Microsoft Defender and is free of viruses; and (iv) the paper document
will be maintained for three years after the mandate or order closing the case issues,
pursuant to 5TH CIR. R. 25.2.9.

                                       /s/ Andrew W. Guthrie
                                       Andrew W. Guthrie




                                          4
        Case: 22-60674     Document: 21       Page: 5   Date Filed: 02/21/2023




                      CERTIFICATE OF COMPLIANCE

      1.    This motion complies with the type-volume limitation of FED. R. APP.
P. 27(d)(2)(A) because it contains 415 words, excluding the parts of the motion
exempted by FED. R. APP. P. 32(f).

      2.     Pursuant to FED. R. APP. P. 27(d)(1)(E), this motion complies with the
typeface requirements of FED. R. APP. P. 32(a)(5) and the type style requirements of
FED. R. APP. P. 32(a)(6) because it has been prepared in a proportionally spaced
typeface using Microsoft Word version 2018 in 14-point Equity A font.


                                      /s/ Andrew W. Guthrie
                                      Andrew W. Guthrie




                                          5
